                     EXHIBIT A




Case 3:23-cv-01092   Document 1-3   Filed 10/18/23   Page 1 of 14 PageID #: 70
     Title                                  Plaintiff                            Registration No.
1    7 RINGS                                Concord Music Group, Inc.            PA0002187265
2    CENTURIES                              Concord Music Group, Inc.            PA0001961647
3    DANCING WITH A STRANGER                Concord Music Group, Inc.            PA0002185007
4    DIAMONDS                               Concord Music Group, Inc.            PA0001845153
5    DIE YOUNG                              Concord Music Group, Inc.            PA0001850818
6    DONTTRUSTME                            Concord Music Group, Inc.            PA0001653773
7    DUSK TILL DAWN                         Concord Music Group, Inc.            PA0002185366
8    GRENADE                                Concord Music Group, Inc.            PA0002182938
9    HALO                                   Concord Music Group, Inc.            PA0001642019; PA0001682642
10   HIPS DON'T LIE                         Concord Music Group, Inc.            PA0001367687; PAu003149121
11   KICKSTART MY HEART                     Concord Music Group, Inc.            PA0000440232
12   LAST FRIDAY NIGHT (T.G.I.F.)           Concord Music Group, Inc.            PA0001711655; PA0001396980;
                                                                                 PA0001753637
13   LOVE YOU LIKE A LOVE SONG              Concord Music Group, Inc.            PA0001869961
14   MAPS                                   Concord Music Group, Inc.            PA0001947799
15   MARRY ME                               Concord Music Group, Inc.            PA0002120132; PA0002138910;
                                                                                 PA0002130922
16   ME AND MY BROKEN HEART                 Concord Music Group, Inc.            PA0001959686
17   MEANT TO BE                            Concord Music Group, Inc.            PA0002105522
18   NOTHING BREAKS LIKE A HEART            Concord Music Group, Inc.            PA0002182042
19   ROAR                                   Concord Music Group, Inc.            PA0001860200
20   RUMOUR HAS IT                          Concord Music Group, Inc.            PA0001738213
21   SOMEBODY ELSE                          Concord Music Group, Inc.            PA0002015511
22   TIK TOK                                Concord Music Group, Inc.            PA0001688442
23   TIME AFTER TIME                        Concord Music Group, Inc.            PA0000238686; PA0000299757
24   TURNING TABLES                         Concord Music Group, Inc.            PA0001738213
25   UNSTOPPABLE                            Concord Music Group, Inc.            PA0002134877
26   UPTOWN FUNK                            Concord Music Group, Inc.            PA0001938200
27   WHAT A WONDERFUL WORLD                 Concord Music Group, Inc.            EU0000010029; RE0000689584;
                                                                                 RE0000704744
28   ADORE YOU                              Concord Music Group, Inc.; Polygram PA0002250803; PA0002265129
                                            Publishing, Inc.
29   BLEEDING LOVE                          Concord Music Group, Inc.; Universal PA0001613694
                                            Music Corp.
30   CALIFORNIA GURLS                       Concord Music Group, Inc.; Universal PA0001711654; PA0001396981;
                                            Music Corp.                          PA0001734423
31   GOLDEN                                 Concord Music Group, Inc.; Polygram PA0002250726; PA0002265133
                                            Publishing, Inc.
32   HUMBLE AND KIND                        Concord Music Group, Inc.; Songs Of PA0002032466; PA0002130282
                                            Universal, Inc.
33   MOVES LIKE JAGGER                      Concord Music Group, Inc.; Universal PA0001801572
                                            Music - Z Tunes LLC
34   PAYPHONE                               Concord Music Group, Inc.; Universal PA0001824573; PA0001849242
                                            Music - Z Tunes LLC
35   SIGN OF THE TIMES                      Concord Music Group, Inc.; Universal PA0002085488
                                            Music Corp.
36   STAY                                   Concord Music Group, Inc.; Songs Of PA0002316799; PA0002345926;
                                            Universal, Inc.                      PA0002370561



      Case 3:23-cv-01092            Document 1-3     Filed 10/18/23      Page 2 of 14 PageID #: 71
     Title                               Plaintiff                              Registration No.
37   STEREO HEARTS                       Concord Music Group, Inc.; Universal   PA0001806415
                                         Music - Z Tunes LLC
38   WANNABE                             Concord Music Group, Inc.; Polygram    PA0000823685
                                         Publishing, Inc.
39   WATERMELON SUGAR                    Concord Music Group, Inc.; Polygram    PA0002250681; PA0002265071
                                         Publishing, Inc.
40   WE BUILT THIS CITY                  Concord Music Group, Inc.; Universal   PA0000265529; PA0000264311
                                         Music - MGB NA LLC
41   A CHANGE IS GONNA COME              ABKCO Music, Inc.                      EU0000816632; RE0000570151
42   ANOTHER SATURDAY NIGHT              ABKCO Music, Inc.                      EU0000766723; RE0000516155
43   BITTERSWEET SYMPHONY                ABKCO Music, Inc.                      PAu002199365
44   BRING IT ON HOME TO ME              ABKCO Music, Inc.                      EU0000719893; RE0000475464;
                                                                                EP0000166883; RE0000475432
45   BROWN SUGAR                         ABKCO Music, Inc.                      EU0000235987
46   CUPID                               ABKCO Music, Inc.                      EU0000668349; RE0000446794
47   DEAD FLOWERS                        ABKCO Music, Inc.                      EP0000289677
48   GIMME SHELTER                       ABKCO Music, Inc.                      EU0000154592
49   HONKY TONK WOMEN                    ABKCO Music, Inc.                      EU0000125715
50   IT'S ALL OVER NOW                   ABKCO Music, Inc.                      EU0000824981; RE0000570496
51   JUMPIN' JACK FLASH                  ABKCO Music, Inc.                      EU0000053487
52   MAMA SAID                           ABKCO Music, Inc.                      EU0000655257; RE0000446770
53   MOONLIGHT MILE                      ABKCO Music, Inc.                      EP0000289679
54   PLAY WITH FIRE                      ABKCO Music, Inc.                      EU0000874314; PAu001489708
55   SALT OF THE EARTH, THE              ABKCO Music, Inc.                      EU0000084522
56   SHE'S A RAINBOW                     ABKCO Music, Inc.                      EU0000031919
57   SHINE A LIGHT                       ABKCO Music, Inc.                      EU0000326812
58   STREET FIGHTING MAN                 ABKCO Music, Inc.                      EU0000070720
59   SYMPATHY FOR THE DEVIL              ABKCO Music, Inc.                      EU0000075421
60   TWISTIN' THE NIGHT AWAY             ABKCO Music, Inc.                      EU0000701315; RE0000475433
61   WILD HORSES                         ABKCO Music, Inc.                      EU0000180744
62   WONDERFUL WORLD                     ABKCO Music, Inc.                      EU0000567694; RE0000361641
63   YOU CAN'T ALWAYS GET WHAT YOU       ABKCO Music, Inc.                      EU0000099333
     WANT
64   YOU SEND ME                         ABKCO Music, Inc.                    EU0000491316; RE0000233851
65   WE BELONG TOGETHER                  ABKCO Music, Inc.; Universal Music - PA0001162027; PA0001163150
                                         MGB NA LLC
66   (SITTIN' ON) THE DOCK OF THE BAY    Universal Music Corp.                EU0000033492; RE0000760653;
                                                                              PAu002069906
67   10,000 REASONS (BLESS THE LORD)     Capitol CMG, Inc.                    PA0001751588
68   A BEAUTIFUL LIE                     Universal Music - Z Tunes LLC        PA0001630062
69   A FOREST                            Universal Music - MGB NA LLC         PA0000194922
70   A PLACE FOR MY HEAD                 Universal Music - Z Tunes LLC        PA0001092514
71   A THOUSAND MILES                    Songs of Universal, Inc.             PA0001102367
72   ACHY BREAKY HEART                   Polygram Publishing, Inc.            PA0000534864
73   AIN'T NO SUNSHINE                   Songs of Universal, Inc.             EU0000243844; RE0000827146
74   AJA                                 Universal Music Corp.                EU0000811347; RE0000910216
75   ALL ALONG THE WATCHTOWER            Songs of Universal, Inc.             EU0000032648; RE0000739070
76   ALL I REALLY WANT TO DO             Songs of Universal, Inc.             EU0000848258; RE0000588423;
                                                                              EP0000195706; RE0000588403


      Case 3:23-cv-01092         Document 1-3     Filed 10/18/23        Page 3 of 14 PageID #: 72
    Title                                  Plaintiff                           Registration No.
77  ALL I WANTED                           Capitol CMG, Inc.                   PA0001676908
78  ALWAYS                                 Universal Music Corp.               PA0001243938
79  ALWAYS                                 Capitol CMG, Inc.                   PA0001766253
80  AMERICAN GIRL                          Universal Music Corp.               EU0000721156; RE0000890825
81  AMERICAN PIE                           Songs of Universal, Inc.            EU0000284299; RE0000803730
82  ANACONDA                               Songs of Universal, Inc.            PA0002062630
83  ANARCHY IN THE U.K.                    Universal Music - MGB NA LLC;       EU0000853584; PAu001125351;
                                           Polygram Publishing, Inc.           RE0000932107; PA0000369943
84 AND I AM TELLING YOU I'M NOT GOING      Universal Music Corp.; Songs of     PAu000365845; PAu000395732;
                                           Universal, Inc.                     PAu000440080
85 AND I LOVE YOU SO                       Songs of Universal, Inc.            EU0000201220; RE0000771158;
                                                                               EP0000311666; RE0000829100
86 ANGEL                                Polygram Publishing, Inc.              PA0000342822
87 ANGEL EYES                           Universal Music - MGB NA LLC           PA0000385332
88 ANGELES                              Universal Music - MGB NA LLC           PA0000859623
89 ANGELS                               Polygram Publishing, Inc.              PA0001816076
90 ANY MAJOR DUDE WILL TELL YOU         Universal Music Corp.                  EU0000469050; RE0000854810
91 AS THE DEER                          Universal Music - Z Tunes LLC          PA0000315393
92 AT THE CROSS (LOVE RAN RED)          Capitol CMG, Inc.; Universal Music - Z PA0001910159
                                        Tunes LLC
93 ATTACK                               Universal Music - Z Tunes LLC          PA0001630069
94 AWAKE MY SOUL                        Polygram Publishing, Inc.              PA0001932490
95 AWAY FROM THE SUN                    Songs of Universal, Inc.               PA0001120567
96 BABY BABY                            Universal Music - Z Tunes LLC          PA0000512809
97 BACK AT ONE                          Polygram Publishing, Inc.              PA0001203871
98 BALLAD OF A THIN MAN                 Songs of Universal, Inc.               EU0000903127; RE0000647444
99 BALLROOM BLITZ                       Universal Music - MGB NA LLC           PAu000066844
100 BARRACUDA                           Universal Music Corp.; Universal       EU0000791168; RE0000910167;
                                        Music - MGB NA LLC                     EU0000789263; RE0000910161
101 BEAUTIFUL THINGS                    Capitol CMG, Inc.                      PA0001734874
102 BECAUSE I GOT HIGH                  Universal Music Corp.                  PA0001123416
103 BENNIE AND THE JETS                 Polygram Publishing, Inc.              EFO000170947; RE0000838312
104 BEST THING THAT EVER HAPPENED TO ME Polygram Publishing, Inc.              EU0000376780; RE0000823172

105 BLEED IT OUT                           Universal Music - Z Tunes LLC         PA0001602887; PA0001167572
106 BLEEDING OUT                           Songs of Universal, Inc.              PA0001816018
107 BLESS THE BROKEN ROAD                  Universal Music - MGB NA LLC          PA0000734451
108 BLOWIN' IN THE WIND                    Songs of Universal, Inc.              EU0000731107; RE0000481471
109 BODHISATTVA                            Universal Music Corp.                 EU0000416548; RE0000837424
110 BONFIRE                                Songs of Universal, Inc.              PA0001773709
111 BOOGIE WOOGIE BUGLE BOY                Universal Music Corp.                 EU0000238602; R00000425178
112 BORN TO BE WILD                        Songs of Universal, Inc.              EU0000035989; RE0000722455
113 BOYS DON'T CRY                         Universal Music - MGB NA LLC          PA0000205033
114 BREAK STUFF                            Universal Music - Z Tunes LLC         PA0001021053
115 BREAKFAST IN AMERICA                   Universal Music Corp.                 PA0000032062
116 BREAKING THE HABIT                     Universal Music - Z Tunes LLC         PA0001256418
117 BREAKING UP IS HARD TO DO              Universal Music - MGB NA LLC          EP0000165278; RE0000501238;
                                                                                 RE0000491450; EU0000724459;
                                                                                 RE0000491465; RE0000501221


      Case 3:23-cv-01092        Document 1-3        Filed 10/18/23           Page 4 of 14 PageID #: 73
    Title                               Plaintiff                             Registration No.
118 BREATHE ME                          Universal Music - MGB NA LLC          PA0001164903; PA0001338526
119 BREATHING                           Universal Music - MGB NA LLC          PA0001158186
120 BRIMFUL OF ASHA                     Polygram Publishing, Inc.             PA0000988476
121 BUILD MY LIFE                       Capitol CMG, Inc.                     PA0002076039
122 BURN IT DOWN                        Universal Music - Z Tunes LLC         PA0001805742
123 BURNING IN THE SKIES                Universal Music - Z Tunes LLC         PA0001725616
124 BY MYSELF                           Universal Music - Z Tunes LLC         PA0001092512
125 CALIFORNIA DREAMIN'                 Universal Music Corp.                 EU0000918773; RE0000635860
126 CALIFORNIA GIRLS                    Universal Music Corp.                 EU0000890216; RE0000610581;
                                                                              PAu002079518; EU0000212915;
                                                                              RE0000775518; PAu002079809
127 CAN'T GET YOU OUT OF MY HEAD        Universal Music Corp.                 PA0001136727
128 CANDLE IN THE WIND                  Polygram Publishing, Inc.             EFO000170947; RE0000838312
129 CASTLE OF GLASS                     Universal Music - Z Tunes LLC         PA0001805745
130 CHASING CARS                        Polygram Publishing, Inc.             PA0001990266
131 CHEEK TO CHEEK                      Universal Music Corp.                 EU0000097144; R000000289527
132 CHILDREN'S STORY                    Songs of Universal, Inc.              PA0000449656
133 CHRISTMAS LIGHTS                    Universal Music - MGB NA LLC          PA0001969616
134 CLOSER                              Universal Music - Z Tunes LLC         PA0001395685
135 CLOSER TO FINE                      Songs of Universal, Inc.              PA0000451204
136 COLORS                              Songs of Universal, Inc.              PA0002059980
137 COME AS YOU ARE                     Capitol CMG, Inc.                     PA0001910192
138 COME SAIL AWAY                      Universal Music Corp.                 EU0000828640; RE0000910690
139 COMING HOME                         Songs of Universal, Inc.; Universal   PA0001751168
                                        Music - Z Tunes LLC
140 CONTROL                             Songs of Universal, Inc.              PA0002060006
141 COPACABANA                          Songs of Universal, Inc.; Universal   PAu000009986
                                        Music - MGB NA LLC
142 COSMIC LOVE                         Polygram Publishing, Inc.             PA0001892799
143 COURT OF THE CRIMSON KING           Universal Music - MGB NA LLC          EU0000148405; RE0000755409
144 COWARD OF THE COUNTY                Universal Music Corp.; Universal      PA0000039661
                                        Music - MGB NA LLC
145 CRAWLING                            Universal Music - Z Tunes LLC         PA0001092510
146 CROCODILE ROCK                      Polygram Publishing, Inc.             EFO000159444; RE0000822540
147 CRUEL TO BE KIND                    Universal Music - MGB NA LLC          PA0000022753
148 DADDY SANG BASS                     Polygram Publishing, Inc.             EU0000088125; RE0000723367;
                                                                              EP0000377413; RE0000750614
149 DARE YOU TO MOVE (I DARE YOU TO     Capitol CMG, Inc.                     PA0001044236
    MOVE)
150 DE DO DO DO, DE DA DA DA            Songs of Universal, Inc.              PA0000089745
151 DEACON BLUES                        Universal Music Corp.                 EU0000811348; RE0000910217;
                                                                              PA0000003182
152 DEMONS                              Songs of Universal, Inc.              PA0001796478
153 DESERT ROSE                         Songs of Universal, Inc.              PA0000976583; PA0001038417;
                                                                              PA0001074378
154 DESOLATION ROW                      Songs of Universal, Inc.              EU0000905799; RE0000647455
155 DISTURBIA                           Songs of Universal, Inc.; Universal   PA0001692669
                                        Music Corp.
156 DO IT AGAIN                         Universal Music Corp.                 EU0000353004; RE0000823108


     Case 3:23-cv-01092         Document 1-3      Filed 10/18/23         Page 5 of 14 PageID #: 74
    Title                                  Plaintiff                             Registration No.
157 DO WAH DIDDY DIDDY                     Polygram Publishing, Inc.             EU0000796084; RE0000529632;
                                                                                 EP0000193467; RE0000585084
158 DOG DAYS ARE OVER                      Polygram Publishing, Inc.             PA0001892802
159 DON'T CRY FOR ME ARGENTINA             Universal Music Corp.                 EF0000041481; RE0000891073
160 DON'T MIND                             Songs of Universal, Inc.; Universal   PA0002047004; PA0002048732
                                           Music - Z Tunes LLC
161 DON'T STAND SO CLOSE TO ME             Songs of Universal, Inc.              PA0000089740
162 DON'T STAY                             Universal Music - Z Tunes LLC         PA0001256411
163 DON'T STOP                             Universal Music - MGB NA LLC          EU0000713074; RE0000904499;
                                                                                 EP0000373131
164 DON'T WORRY BABY                       Universal Music Corp.; Universal      EU0000818195; RE0000604378;
                                           Music - MGB NA LLC                    RE0000574344
165 DRIFT AWAY                             Universal Music Corp.                 EP0000312071; PA0000790342;
                                                                                 EU0000331792; PAu002121140;
                                                                                 RE0000816855
166 EASIER TO RUN                          Universal Music - Z Tunes LLC         PA0001256414
167 ENGLISHMAN IN NEW YORK                 Songs of Universal, Inc.              PA0000351652; PA0001038425
168 EVER FALLEN IN LOVE WITH SOMEONE       Universal Music - MGB NA LLC          PA0000067070
    YOU SHOULDN'T'VE
169 EVERGLOW                               Universal Music - MGB NA LLC          PA0002031153
170 EVERY BREATH YOU TAKE                  Songs of Universal, Inc.              PA0000201652; PA0001038430
171 EVERY GRAIN OF SAND                    Songs of Universal, Inc.              PAu000237620; PA0000115557
172 EVERY LITTLE THING SHE DOES IS MAGIC   Songs of Universal, Inc.              PA0000127302
173 EVERY TEARDROP IS A WATERFALL          Universal Music - MGB NA LLC;         PA0001766995
                                           Universal Music Corp.
174 EVERYWHERE                             Universal Music - MGB NA LLC          PAu000853444; PA0000332445
175 EYE IN THE SKY                         Universal Music - MGB NA LLC          PA0000144130
176 FACE DOWN                              Songs of Universal, Inc.              PA0001376457
177 FAINT                                  Universal Music - Z Tunes LLC         PA0001256417
178 FATHER OF MINE                         Songs of Universal, Inc.; Universal   PA0000873792
                                           Music Corp.
179 FERRY 'CROSS THE MERSEY                Polygram Publishing, Inc.             EFO000104733; RE0000573321
180 FIELDS OF GOLD                         Songs of Universal, Inc.              PA0000618389; PA0001038420
181 FIREFLIES                              Universal Music Corp.                 PA0001692976
182 FIX YOU                                Universal Music - MGB NA LLC          PA0001700422
183 FLAVOR OF THE WEEK                     Universal Music - MGB NA LLC          PA0000981396
184 FLY                                    Songs of Universal, Inc.              PA0001745306
185 FOR THE FIRST TIME                     Universal Music - Z Tunes LLC         PA0001746223
186 FOR THE GOOD TIMES                     Universal Music - MGB NA LLC          EP0000248830; RE0000718330
187 FOREVER                                Songs of Universal, Inc.; Universal   PA0001677037
                                           Music Corp.
188 FORGOTTEN                              Universal Music - Z Tunes LLC         PA0001092515
189 FRAGILE                                Songs of Universal, Inc.              PA0000351655; PA0001038440
190 FREE BIRD                              Songs of Universal, Inc.              EU0000450840; RE0000838872;
                                                                                 RE0000852176
191 FRESH PRINCE OF BEL-AIR                Universal Music - Z Tunes LLC         PAu001887849
192 FRIDAY I'M IN LOVE                     Universal Music - MGB NA LLC          PA0001073351
193 FRIENDS                                Capitol CMG, Inc.                     PA0000154225
194 FRIENDS IN LOW PLACES                  Universal Music - MGB NA LLC          PA0000485587


     Case 3:23-cv-01092        Document 1-3          Filed 10/18/23         Page 6 of 14 PageID #: 75
    Title                               Plaintiff                           Registration No.
195 FROM THE BOTTOM OF MY BROKEN        Universal Music - Z Tunes LLC       PA0000932241
    HEART
196 FROM THE INSIDE                     Universal Music - Z Tunes LLC       PA0001256421
197 FUN, FUN, FUN                       Universal Music Corp.               EU0000807824; RE0000574318
198 GIMME SOME LOVIN'                   Polygram Publishing, Inc.           EF0000031746; RE0000657899
199 GIMME THREE STEPS                   Songs of Universal, Inc.            EU0000448562; RE0000851733
200 GIRLS JUST WANNA HAVE FUN           Universal Music - MGB NA LLC        PA0000532922
201 GIVEN UP                            Universal Music - Z Tunes LLC       PA0001167570; PA0001602906
202 GOD MUST HAVE SPENT A LITTLE MORE   Songs of Universal, Inc.            PA0000982175
    TIME ON YOU
203 GOD OF WONDERS                      Capitol CMG, Inc.; Universal Music - Z PA0001305795
                                        Tunes LLC
204 GOD ONLY KNOWS                      Universal Music Corp.                  EU0000948189; RE0000662431
205 GOD SAVE THE QUEEN (NO FUTURE)      Universal Music - MGB NA LLC           PAu001125349
206 GOOD GOOD FATHER                    Capitol CMG, Inc.                      PA0002296837
207 GOOD VIBRATIONS                     Universal Music Corp.                  EU0000964030; RE0000654512
208 GOODBYE YELLOW BRICK ROAD           Polygram Publishing, Inc.              EFO000170947; RE0000838312
209 GOODNESS OF GOD                     Capitol CMG, Inc.                      PA0002394586; PA0002186334
210 GOTTA SERVE SOMEBODY                Songs of Universal, Inc.               PAu000110766; PAu000137092
211 GRANDMA'S HANDS                     Songs of Universal, Inc.               EU0000243847; RE0000827149
212 GREAT IS THE LORD                   Capitol CMG, Inc.                      PA0000158291
213 GREEN EYES                          Universal Music - MGB NA LLC           PA0001073305
214 GYPSYS, TRAMPS AND THIEVES          Universal Music - MGB NA LLC           EU0000271991; RE0000728553
215 HALL OF FAME                        Universal Music - Z Tunes LLC          PA0001828622
216 HARD TO SAY I'M SORRY               Universal Music - MGB NA LLC           PA0000142242; PA0000150388
217 HARDER TO BREATHE                   Universal Music - MGB NA LLC           PA0001073084
218 HATE THAT I LOVE YOU                Universal Music - Z Tunes LLC          PA0001641335
219 HAVE A LITTLE FAITH IN ME           Universal Music - MGB NA LLC           PA0000343117
220 HE IS EXALTED                       Capitol CMG, Inc.                      PA0000296457
221 HE REIGNS                           Capitol CMG, Inc.                      PA0001226974
222 HELLO AGAIN                         Songs of Universal, Inc.; Universal    PAu000193778; PA0000506680
                                        Music Corp.
223 HELP ME RHONDA                      Universal Music Corp.                  EU0000868745; RE0000610558;
                                                                               PAu002079506
224 HEMORRHAGE (IN MY HANDS)            Polygram Publishing, Inc.              PA0001025282; PA0001103603
225 HERE                                Songs of Universal, Inc.; Universal    PA0002049195
                                        Music Corp.
226 HERE WITHOUT YOU                    Songs of Universal, Inc.               PA0001120571
227 HERE'S MY HEART                     Capitol CMG, Inc.                      PA0001839539
228 HIGHWAY 61 REVISITED                Songs of Universal, Inc.               EU0000903131; RE0000647447
229 HOLD ON LOOSELY                     Universal Music - MGB NA LLC           PA0000106829
230 HOUSE AT POOH CORNER                Universal Music Corp.                  EU0000104835; RE0000749927
231 HOW GREAT IS OUR GOD                Capitol CMG, Inc.                      PA0001299530
232 HOW SOON IS NOW                     Polygram Publishing, Inc.              PA0000243097
233 HURRICANE                           Songs of Universal, Inc.               EU0000613348; EU0000633490
234 HURRICANE                           Universal Music - Z Tunes LLC          PA0002076980
235 I AM NOT ALONE                      Capitol CMG, Inc.                      PA0001903579
236 I AM WOMAN                          Universal Music Corp.                  EU0000264747; RE0000799367
237 I AM...I SAID                       Songs of Universal, Inc.               EU0000239274; RE0000797642


     Case 3:23-cv-01092        Document 1-3      Filed 10/18/23         Page 7 of 14 PageID #: 76
    Title                                  Plaintiff                           Registration No.
238 I BELIEVE I CAN FLY                    Universal Music - Z Tunes LLC       PA0000848248
239 I BET MY LIFE                          Songs of Universal, Inc.            PA0001938182; PA0001999963
240 I CAN LOVE YOU BETTER                  Polygram Publishing, Inc.           PA0000545908
241 I CAN'T MAKE YOU LOVE ME               Universal Music Corp.; Universal    PA0000535292
                                           Music - MGB NA LLC
242 I CAN'T STAND THE RAIN                 Universal Music Corp.                  EU0000420732; RE0000837101;
                                                                                  PAu001165939
243 I DON'T KNOW HOW TO LOVE HIM           Universal Music Corp.                  EU0000219295; RE0000778056
244 I GET AROUND                           Universal Music Corp.                  EU0000821071; RE0000574324;
                                                                                  PAu002079503
245 I HATE MYSELF FOR LOVING YOU           Songs of Universal, Inc.; Polygram     PA0000391570; PA0000419420;
                                           Publishing, Inc.                       PAu001029900
246 I LOVE THE WAY YOU LOVE ME             Universal Music - MGB NA LLC           PAu001650145; PA0000713657
247 I MISS YOU                             Universal Music Corp.                  PA0001243932
248 I NEED YOU                             Capitol CMG, Inc.                      PA0000991416
249 I STAND ALONE                          Universal Music Corp.                  PA0001227288; PA0001212305
250 I WANT CRAZY                           Songs of Universal, Inc.               PA0001856536
251 I WILL BE HERE                         Capitol CMG, Inc.; Universal Music - Z PA0000454569
                                           Tunes LLC
252 I WILL RISE                            Capitol CMG, Inc.                      PA0001623041
253 I WILL SURVIVE                         Polygram Publishing, Inc.              PAu000047934; PAu000129011;
                                                                                  PA0000041104
254 I WILL WAIT                            Polygram Publishing, Inc.              PA0001818830
255 I WON'T DANCE                          Polygram Publishing, Inc.              EP0000046848; R00000291379;
                                                                                  R00000291158
256 I'LL NEVER BREAK YOUR HEART            Universal Music - Z Tunes LLC          PA0000859260; PA0000949897
257 I'LL NEVER SMILE AGAIN                 Universal Music Corp.                  EU0000202771; R00000392686
258 I'M A BELIEVER                         Songs of Universal, Inc.               EP0000229124; RE0000653597;
                                                                                  EU0000968474; RE0000653692
259 I'M N LUV (WIT A STRIPPER) FEATURING   Universal Music - Z Tunes LLC          PA0001396315
    MIKE JONES
260 IF I EVER LOSE MY FAITH IN YOU         Songs of Universal, Inc.            PA0000618388; PA0001038452
261 IF YOU LEAVE ME NOW                    Universal Music - MGB NA LLC        EU0000694744; RE0000904428
262 IN MY PLACE                            Universal Music - MGB NA LLC        PA0001073301
263 IN THE END                             Universal Music - Z Tunes LLC       PA0001092513
264 INBETWEEN DAYS                         Universal Music - MGB NA LLC        PA0000279383
265 INDESCRIBABLE                          Capitol CMG, Inc.                   PA0001299529
266 IRIDESCENT                             Universal Music - Z Tunes LLC       PA0001725626
267 IT'S ALL COMING BACK TO ME NOW         Polygram Publishing, Inc.           PAu001953216; PA0000787517
268 IT'S ALL OVER NOW, BABY BLUE           Songs of Universal, Inc.            EU0000874587; RE0000647437;
                                                                               EP0000202991; RE0000647469
269 IT'S ALRIGHT, MA (I'M ONLY BLEEDING)   Songs of Universal, Inc.            EU0000874591; RE0000647441;
                                                                               EP0000202990; RE0000647468;
                                                                               EP0000223904; RE0000684773
270 IT'S TIME                              Songs of Universal, Inc.            PA0001796482
271 JESUS MESSIAH                          Capitol CMG, Inc.                   PA0001623039
272 JOKERMAN                               Songs of Universal, Inc.            PAu000531924; PA0000191286
273 JOY TO THE WORLD                       Universal Music Corp.               EU0000218428; RE0000775044;
                                                                               EP0000284915; RE0000643916


      Case 3:23-cv-01092         Document 1-3        Filed 10/18/23        Page 8 of 14 PageID #: 77
    Title                                  Plaintiff                           Registration No.
274 JUST LIKE A WOMAN                      Songs of Universal, Inc.            EU0000930913; RE0000684782;
                                                                               EP0000221661; RE0000684766
275 JUST LIKE HEAVEN                       Universal Music - MGB NA LLC        PA0000344486
276 JUST LIKE TOM THUMB'S BLUES            Songs of Universal, Inc.            EU0000903129; RE0000647445
277 JUST ONE LOOK                          Universal Music - MGB NA LLC        EU0000761806; RE0000530731
278 KID CHARLEMAGNE                        Universal Music Corp.               EU0000679291; RE0000891480
279 KING OF PAIN                           Songs of Universal, Inc.            PA0000201653; PA0001038431
280 KINGS AND QUEENS                       Universal Music - Z Tunes LLC       PA0002076506
281 KRYPTONITE                             Songs of Universal, Inc.            PA0000999801
282 LAMB OF GOD                            Capitol CMG, Inc.                   PA0000296457
283 LATCH                                  Polygram Publishing, Inc.           PA0001916095
284 LEAN ON ME                             Songs of Universal, Inc.            EP0000304954; RE0000832582
285 LEAVE OUT ALL THE REST                 Universal Music - Z Tunes LLC       PA0001167571
286 LET YOU DOWN                           Capitol CMG, Inc.                   PA0002222190
287 LET'S FACE THE MUSIC AND DANCE         Universal Music Corp.               EU0000105690; R00000301275;
                                                                               EP0000052756; R00000313962
288 LET'S GET TOGETHER                     Universal Music Corp.               EU0000778381; RE0000518243
289 LET'S STAY TOGETHER                    Universal Music Corp.               EU0000287623; RE0000799562
290 LETTERS FROM HOME                      Universal Music - MGB NA LLC        PA0001159374; PA0001160515;
                                                                               PA0001166509
291 LIFE IS A HIGHWAY                      Universal Music Corp.               PA0000683569
292 LIGHTNING CRASHES                      Universal Music - MGB NA LLC        PA0000720664
293 LIKE A ROLLING STONE                   Songs of Universal, Inc.            EP0000205564; RE0000640124
294 LITTLE DEUCE COUPE                     Universal Music Corp.; Universal    EU0000783375; RE0000575772;
                                           Music - MGB NA LLC                  EU0000783375; RE0000575773;
                                                                               EU0000783375; RE0000525573
295 LITTLE LIES                            Universal Music - MGB NA LLC        PA0000332449; PA0000391430
296 LITTLE LION MAN                        Polygram Publishing, Inc.           PA0001932483
297 LONG COOL WOMAN IN A BLACK DRESS       Polygram Publishing, Inc.           EU0000349588; RE0000825602
298 LORD, I NEED YOU                       Capitol CMG, Inc.                   PA0001734765
299 LOVE IS ALL AROUND                     Polygram Publishing, Inc.           EFO000124632; RE0000698430
300 LOVE MINUS ZERO/NO LIMIT               Songs of Universal, Inc.            EU0000874590; RE0000647440;
                                                                               EP0000202992; RE0000647470
301 LOVESONG                             Universal Music - MGB NA LLC          PA0001073355
302 LUCKENBACH TEXAS (BACK TO THE BASICS Polygram Publishing, Inc.             EP0000367087; RE0000909980
    OF LOVE)
303 LYING FROM YOU                       Universal Music - Z Tunes LLC         PA0001256415
304 MACARTHUR PARK                       Polygram Publishing, Inc.             EU0000049691; RE0000723251;
305 MAD                                  Universal Music - Z Tunes LLC         PA0001395687
306 MAGIC                                Universal Music - MGB NA LLC          PA0001916029
307 MAGIC CARPET RIDE                    Songs of Universal, Inc.              EU0000083717; RE0000730472
308 MASTERS OF WAR                       Songs of Universal, Inc.              EU0000765995; RE0000529553;
                                                                               EP0000178108; RE0000529581
309 MEANT TO LIVE                          Capitol CMG, Inc.                   PA0001227016
310 MERRY CHRISTMAS DARLING                Universal Music Corp.               EP0000281386; RE0000774636;
                                                                               PA0000856789
311 MESSAGE IN A BOTTLE                    Songs of Universal, Inc.            PA0000069032
312 MIDNIGHT                               Universal Music - MGB NA LLC        PA0001916020



      Case 3:23-cv-01092        Document 1-3         Filed 10/18/23        Page 9 of 14 PageID #: 78
    Title                            Plaintiff                             Registration No.
313 MIDNIGHT TRAIN TO GEORGIA        Polygram Publishing, Inc.             EU0000287454; RE0000802289;
                                                                           EP0000311363; RE0000835032
314 MILKSHAKE                        Universal Music - MGB NA LLC          PA0001158349; PA0001158583
315 MISERY                           Universal Music - MGB NA LLC          PA0001726265
316 MISS INDEPENDENT                 Universal Music - Z Tunes LLC         PA0001395688
317 MONA LISAS AND MAD HATTERS       Polygram Publishing, Inc.             EF0000157243; RE0000822534
318 MONDAY MONDAY                    Universal Music Corp.                 EU0000922884; RE0000705550;
                                                                           EP0000220921; RE0000705546
319 MOONLIGHT IN VERMONT             Universal Music Corp.                 EU0000395533; R00000515635
320 MOVE ALONG                       Universal Music - MGB NA LLC          PA0001203496
321 MR. TAMBOURINE MAN               Songs of Universal, Inc.              EP0000202671; RE0000647466;
                                                                           EU0000848210; RE0000588389
322 MY BACK PAGES                    Songs of Universal, Inc.              EU0000848264; RE0000588408;
                                                                           EP0000195713; RE0000588391
323 MY BEST FRIEND                   Universal Music - MGB NA LLC          PA0000964541
324 MY DECEMBER                      Universal Music - Z Tunes LLC         PA0001054030
325 MY OLD SCHOOL                    Universal Music Corp.                 EU0000416546; RE0000837422
326 NEVER BE ALONE                   Songs of Universal, Inc.; Universal   PA0001984359
                                     Music Corp.
327 NEVER BEEN TO SPAIN              Universal Music Corp.                 EU0000218427; RE0000775043
328 NEW DIVIDE                       Universal Music - Z Tunes LLC         PA0001677173
329 NEXT TO ME                       Songs of Universal, Inc.              PA0002396886
330 NO AIR                           Universal Music - MGB NA LLC;         PA0001653567
                                     Universal Music Corp.
331 NO DIGGITY                       Universal Music - Z Tunes LLC         PA0000839312
332 NO LIGHT, NO LIGHT               Polygram Publishing, Inc.             PA0001777616
333 NO MORE SORROW                   Universal Music - Z Tunes LLC         PA0001602921; PA0001167576
334 NO ONE                           Universal Music Corp.                 PA0001590102
335 NOBODY'S LISTENING               Universal Music - Z Tunes LLC         PA0001256420
336 NOT DARK YET                     Songs of Universal, Inc.              PAu002179480
337 NOTHING FROM NOTHING             Universal Music Corp.                 EU0000510833; RE0000855515;
                                                                           PAu002434356
338 NUMB                             Universal Music - Z Tunes LLC         PA0001256412
339 OCEAN AVENUE                     Universal Music - MGB NA LLC          PA0001158187
340 ON TOP OF THE WORLD              Songs of Universal, Inc.              PA0001796480
341 ONE DAY I'LL FLY AWAY            Universal Music Corp.                 PA0000081908
342 ONE STEP CLOSER                  Universal Music - Z Tunes LLC         PA0001092507; PA0001237305
343 ONE TIN SOLDIER                  Songs of Universal, Inc.              EU0000128013; RE0000755132
344 ONE TOKE OVER THE LINE           Universal Music - MGB NA LLC          EU0000201193; RE0000780432
345 ONLY HOPE                        Capitol CMG, Inc.                     PA0000943389
346 OPEN YOUR EYES                   Polygram Publishing, Inc.             PA0001990273
347 OUR DAY WILL COME                Universal Music Corp.                 EU0000751240; RE0000502027;
                                                                           RE0000463672
348 OUR GOD                          Capitol CMG, Inc.                     PA0001730879
349 OUR LIPS ARE SEALED              Universal Music - MGB NA LLC          PAu000299968; PA0000123694
350 PAPERCUT                         Universal Music - Z Tunes LLC         PA0001092506
351 PARADISE                         Universal Music - MGB NA LLC          PA0001766985
352 PARENTS JUST DON'T UNDERSTAND    Universal Music - Z Tunes LLC         PA0000381782
353 PEOPLE NEED THE LORD             Capitol CMG, Inc.                     PA0000212604


     Case 3:23-cv-01092      Document 1-3     Filed 10/18/23         Page 10 of 14 PageID #: 79
    Title                            Plaintiff                             Registration No.
354 POINTS OF AUTHORITY              Universal Music - Z Tunes LLC         PA0001092509
355 POISON                           Songs of Universal, Inc.; Polygram    PA0000472703; PA0000445681
                                     Publishing, Inc.
356 POSITIVELY 4TH STREET            Songs of Universal, Inc.              EU0000903133; RE0000647449
357 POSSUM KINGDOM                   Songs of Universal, Inc.              PA0000730720
358 POWERLESS                        Universal Music - Z Tunes LLC         PA0001805751
359 PRAISE YOU                       Polygram Publishing, Inc.             PA0000968847
360 PRETTY GIRL ROCK                 Universal Music - Z Tunes LLC         PA0001784138
361 PUTTIN' ON THE RITZ              Universal Music Corp.                 E0000696554; R00000155144;
                                                                           EP0000011281; R00000183130
362 RADIOACTIVE                      Songs of Universal, Inc.              PA0001796477
363 RAINY DAYS AND MONDAYS           Universal Music Corp.                 EU0000222638; RE0000775443;
                                                                           PAu002237895; EP0000300297;
                                                                           PA0000864726
364 RED, RED WINE                    Songs of Universal, Inc.              RE0000653689
365 REDBONE                          Songs of Universal, Inc.; Universal   PA0002063056; PA0002082553
                                     Music Corp.
366 REELING IN THE YEARS             Universal Music Corp.                 EU0000353008; RE0000823112
367 REMEMBER THE NAME                Universal Music - Z Tunes LLC         PA0001163444
368 REMEMBERING SUNDAY               Songs of Universal, Inc.              PA0001675980
369 RENEGADES                        Songs of Universal, Inc.              PA0001995174
370 REUNITED                         Polygram Publishing, Inc.             PAu000023138; PA0000039131
371 RIDE LIKE THE WIND               Universal Music - MGB NA LLC          PA0000071337
372 RIKKI DON'T LOSE THAT NUMBER     Universal Music Corp.                 EU0000469054; RE0000854814
373 ROCKY MOUNTAIN WAY               Songs of Universal, Inc.              EU0000416549; RE0000837425
374 ROXANNE                          Songs of Universal, Inc.              PA0000052671
375 RUN                              Polygram Publishing, Inc.             PA0001994133
376 RUNAWAY                          Universal Music - Z Tunes LLC         PA0001092511
377 RUNAWAY                          Polygram Publishing, Inc.             PA0000707154
378 RUSSIAN ROULETTE                 Universal Music - Z Tunes LLC         PA0001704500
379 SAD                              Universal Music - MGB NA LLC          PA0001810801
380 SAILING                          Universal Music - MGB NA LLC          PA0000071338
381 SAN FRANCISCO BE SURE TO WEAR    Universal Music Corp.                 EU0000995820; RE0000687597
    FLOWERS IN YOUR HAIR
382 SANTERIA                         Songs of Universal, Inc.              PA0000813737
383 SAY SOMETHING                    Songs of Universal, Inc.              PA0001846423; PA0001397885
384 SCARS TO YOUR BEAUTIFUL          Songs of Universal, Inc.              PA0002100489
385 SECRET                           Universal Music - MGB NA LLC          PA0001073092
386 SHAMBALA                         Songs of Universal, Inc.              EU0000398898; RE0000836928
387 SHAPE OF MY HEART                Songs of Universal, Inc.              PA0000618387; PA0001038451
388 SHE BELIEVES IN ME               Polygram Publishing, Inc.             EP0000368480; RE0000909991;
                                                                           PA0000066693
389 SHE BELONGS TO ME                Songs of Universal, Inc.              EU0000874585; RE0000647435;
                                                                           EP0000202996; RE0000647474
390 SHE WILL BE LOVED                Universal Music - MGB NA LLC          PA0001073087
391 SHELTER FROM THE STORM           Songs of Universal, Inc.              EU0000530721; RE0000862517
392 SHIVER                           Universal Music - MGB NA LLC          PA0000981357
393 SIMPLE MAN                       Songs of Universal, Inc.              EU0000448563; RE0000844239;
                                                                           RE0000851734


     Case 3:23-cv-01092      Document 1-3     Filed 10/18/23         Page 11 of 14 PageID #: 80
    Title                             Plaintiff                             Registration No.
394 SIMPLE TWIST OF FATE              Songs of Universal, Inc.              EU0000530720; RE0000862516
395 SMOKE GETS IN YOUR EYES           Polygram Publishing, Inc.             EP0000039116; R00000265488;
                                                                            R0000026554
396 SO SICK                           Universal Music - Z Tunes LLC         PA0001163977
397 SOLITARY MAN                      Songs of Universal, Inc.              PA0000042999; EP0000215760;
                                                                            RE0000653594
398 SOMEBODY TO LOVE                  Universal Music Corp.                 EU0000922524; RE0000846415;
                                                                            EP0000228384; RE0000654121
399 SOMETHING JUST LIKE THIS          Universal Music - MGB NA LLC          PA0002083153
400 SOMEWHERE I BELONG                Universal Music - Z Tunes LLC         PA0001256410
401 SOMEWHERE ONLY WE KNOW            Universal Music - MGB NA LLC          PA0001160739
402 SONG SUNG BLUE                    Songs of Universal, Inc.              EU0000322568; RE0000813919
403 SONGBIRD                          Universal Music - MGB NA LLC          A00000885251; EU0000772678
404 SOUL MAN                          Universal Music Corp.                 EU0000016237; RE0000688918
405 SOUND OF DA POLICE                Universal Music - Z Tunes LLC         PA0000711682
406 SPIRITS IN THE MATERIAL WORLD     Songs of Universal, Inc.              PA0000128668
407 STEP INTO CHRISTMAS               Polygram Publishing, Inc.             EP0000319570; RE0000836136;
                                                                            EFO000167890; RE0000838135
408 STRAWBERRY WINE                   Songs of Universal, Inc.; Universal   PA0000840407
                                      Music - Z Tunes LLC
409 SUBTERRANEAN HOMESICK BLUES       Songs of Universal, Inc.              EU0000874584; RE0000647434;
                                                                            EP0000201208; RE0000647465
410 SUCKER FOR PAIN                   Songs of Universal, Inc.              PA0002076970; PA0002078398
411 SUGAR MAN                         Songs of Universal, Inc.              EU0000133445; RE0000767053
412 SUMMER WINE                       Universal Music Corp.                 EU0000951758; RE0000640586
413 SUNDAY MORNING                    Universal Music - MGB NA LLC          PA0001073091
414 SWEET CAROLINE                    Songs of Universal, Inc.              EU0000121797; RE0000748767;
                                                                            PA0000043001
415 SWEET CREATURE                    Polygram Publishing, Inc.             PA0002087493
416 SWEET HOME ALABAMA                Songs of Universal, Inc.; Universal   EU0000511375; RE0000862377;
                                      Music Corp.                           EU0000511375; RE0000857056
417 SWING, SWING                      Universal Music - MGB NA LLC          PA0001203496
418 SYNCHRONICITY II                  Songs of Universal, Inc.              PA0000201651; PA0001038429
419 TAKE A BOW                        Universal Music - Z Tunes LLC         PA0001692696
420 TAKE ME OUT                       Polygram Publishing, Inc.             PA0001233512
421 TALK                              Universal Music - MGB NA LLC          PA0001700311
422 TALK                              Polygram Publishing, Inc.             PA0002190909
423 TANGLED UP IN BLUE                Songs of Universal, Inc.              EU0000529117; RE0000862509
424 TEARDROP                          Polygram Publishing, Inc.             PA0000926996
425 TENNESSEE WHISKEY                 Polygram Publishing, Inc.             PAu000307891; PA0000148061;
                                                                            PA0000211136
426 THAT SMELL                        Songs of Universal, Inc.              EU0000842824; RE0000910305;
                                                                            PA0000111507
427 THE BAD TOUCH                     Polygram Publishing, Inc.             PA0001049232
428 THE BOYS ARE BACK IN TOWN         Polygram Publishing, Inc.             EU0000674600; RE0000891463
429 THE CATALYST                      Universal Music - Z Tunes LLC         PA0001725628
430 THE CAVE                          Polygram Publishing, Inc.             PA0001932476
431 THE CHANGE                        Universal Music Corp.                 PA0000774761; PA0000776742
432 THE DEVIL WENT DOWN TO GEORGIA    Songs of Universal, Inc.              PAu000084340


     Case 3:23-cv-01092       Document 1-3     Filed 10/18/23         Page 12 of 14 PageID #: 81
    Title                              Plaintiff                             Registration No.
433 THE GRAND ILLUSION                 Universal Music Corp.                 EU0000828643; RE0000910692
434 THE HARDER THEY COME               Polygram Publishing, Inc.             EU0000388670
435 THE KEEPER OF THE STARS            Polygram Publishing, Inc.             PA0000692567; PA0000713749;
                                                                             PAu001898849
436 THE KILL                           Universal Music - Z Tunes LLC         PA0001630065
437 THE KING OF CARROT FLOWERS PART    Universal Music - MGB NA LLC          PA0000928784
    ONE
438 THE LOGICAL SONG                   Universal Music Corp.                 PA0000032060
439 THE LONG BLACK VEIL                Polygram Publishing, Inc.             EU0000577749; RE0000346323
440 THE SAFETY DANCE                   Songs of Universal, Inc.; Polygram    PA0000413304; PA0000444999
                                       Publishing, Inc.
441 THE SAGA BEGINS                    Songs of Universal, Inc.              PA0000995641
442 THE SALTWATER ROOM                 Universal Music Corp.                 PA0001649308
443 THE SCIENTIST                      Universal Music - MGB NA LLC          PA0001073303
444 THE TIMES THEY ARE A-CHANGIN'      Songs of Universal, Inc.              EU0000798069; RE0000529575;
                                                                             EP0000196321; RE0000588437
445 THE TROUBLE WITH LOVE IS           Songs of Universal, Inc.              PA0001227298
446 THE WEIGHT                         Songs of Universal, Inc.              EU0000049518; RE0000739082;
                                                                             EP0000258882; RE0000739062
447 THE WORLD'S GREATEST               Universal Music - Z Tunes LLC         PA0001084039
448 THEME FROM SHAFT                   Universal Music Corp.                 EU0000259390; RE0000796884;
                                                                             RE0000801338
449 THESE BOOTS ARE MADE FOR WALKIN'   Universal Music Corp.                 EU0000915461; RE0000612396
450 THIRTEEN                           Universal Music Corp.                 EU0000328421; RE0000816224
451 THIS IS WAR                        Universal Music - Z Tunes LLC         PA0002076510
452 THIS LOVE                          Universal Music - MGB NA LLC          PA0001073085
453 THUNDER                            Songs of Universal, Inc.; Universal   PA0002113702
                                       Music Corp.
454 TINY DANCER                        Polygram Publishing, Inc.             EU0000283994; RE0000802431
455 TO MAKE YOU FEEL MY LOVE           Songs of Universal, Inc.              PAu002178281
456 TOO CLOSE                          Polygram Publishing, Inc.             PA0001806290
457 TOP OF THE WORLD                   Universal Music Corp.                 EU0000329403; RE0000817022;
                                                                             PAu002215502
458 TORN                               Universal Music - MGB NA LLC;         PA0000836968; PA0000705322
                                       Polygram Publishing, Inc.
459 TRAPPED IN THE CLOSET (PART 1)     Universal Music - Z Tunes LLC         PA0001395840
460 UNFAITHFUL                         Universal Music - Z Tunes LLC         PA0001164749
461 UNINVITED                          Universal Music Corp.                 PA0000921947
462 VANILLA TWILIGHT                   Universal Music Corp.                 PA0001692986
463 VINCENT (STARRY, STARRY NIGHT)     Songs of Universal, Inc.              EU0000284302; RE0000803733
464 VIOLET HILL                        Universal Music - MGB NA LLC          PA0001820463
465 VISIONS OF JOHANNA                 Songs of Universal, Inc.              EU0000930909; RE0000685898;
                                                                             EP0000221660; RE0000685899;
                                                                             EU0000928301; RE0000684775
466 VIVA LA VIDA                       Universal Music - MGB NA LLC          PA0001820459
467 VOODOO                             Universal Music Corp.                 PA0000940225
468 WALK THE DINOSAUR                  Universal Music Corp.                 PA0000415228
469 WALKING ON THE MOON                Songs of Universal, Inc.              PA0000069037
470 WANTED                             Songs of Universal, Inc.              PA0001777909


     Case 3:23-cv-01092        Document 1-3     Filed 10/18/23         Page 13 of 14 PageID #: 82
    Title                               Plaintiff                            Registration No.
471 WARRIOR                             Songs of Universal, Inc.             PA0002375231
472 WE GOT THE BEAT                     Universal Music - MGB NA LLC         PA0000123699; PA0000127864
473 WE'RE NOT GONNA TAKE IT             Songs of Universal, Inc.             PA0000226789
474 WE'VE ONLY JUST BEGUN               Universal Music Corp.                EU0000169722; RE0000775608
475 WHAT I'VE DONE                      Universal Music - Z Tunes LLC        PA0001167574; PA0001602911;
                                                                             PA0001708260
476 WHEN I'M GONE                       Songs of Universal, Inc.             PAu002577919; PA0001120566
477 WHITE BLANK PAGE                    Polygram Publishing, Inc.            PA0001932481
478 WHITE CHRISTMAS                     Universal Music Corp.                EU0000238624; R00000435930;
                                                                             EP0000104340; R00000464105
479 WHO WE ARE                          Songs of Universal, Inc.             PA0001934683
480 WHOM SHALL I FEAR (GOD OF ANGEL     Capitol CMG, Inc.                    PA0001830592
    ARMIES)
481 WICHITA LINEMAN                     Polygram Publishing, Inc.            EU0000073735; RE0000732681
482 WILL IT GO ROUND IN CIRCLES         Universal Music Corp.                EU0000383670; RE0000836544
483 WINDY                               Universal Music Corp.                EU0000989067; RE0000687658;
                                                                             EP0000232781; RE0000687939
484 WITH YOU                            Universal Music - Z Tunes LLC        PA0001092508
485 WORDS I NEVER SAID                  Songs of Universal, Inc.; Universal  PA0001739113
                                        Music - Z Tunes LLC; Universal Music -
                                        MGB NA LLC
486 WOULDN'T IT BE NICE                 Universal Music Corp.                  EU0000948191; PAu002079501;
                                                                               RE0000662433
487 WRAPPED AROUND YOUR FINGER          Songs of Universal, Inc.               PA0000201655; PA0001038433;
                                                                               PA0000201654; PA0001038432
488 YELLOW                              Universal Music - MGB NA LLC           PA0000981360
489 YESTERDAY ONCE MORE                 Universal Music Corp.                  EU0000401698; RE0000872358;
                                                                               PAu002215503
490 YOU AIN'T GOIN' NOWHERE             Songs of Universal, Inc.               EU0000018767; RE0000701195
491 YOU ARE NOT ALONE                   Universal Music - Z Tunes LLC          PA0000789976
492 YOU ARE SO BEAUTIFUL                Universal Music Corp.                  EU0000408125; RE0000837480
493 YOU CAN GET IT IF YOU REALLY WANT   Polygram Publishing, Inc.              EU0000212983; RE0000778661
494 YOU LIGHT UP MY LIFE                Polygram Publishing, Inc.              EU0000676281; RE0000891470;
                                                                               EP0000380330; RE0000910478
495 YOU LOOK SO GOOD IN LOVE            Universal Music Corp.; Polygram        PAu000502409
                                        Publishing, Inc.
496 YOU MAKE LOVIN FUN                  Universal Music - MGB NA LLC           EU0000713071; RE0000904498;
                                                                               PA0001162955
497 YOU'RE MY BEST FRIEND               Polygram Publishing, Inc.              EP0000336092; RE0000875578
498 YOU'RE THE INSPIRATION              Universal Music - MGB NA LLC           PA0000213889; PAu000638574;
                                                                               PAu000598698
499 YOUR GUARDIAN ANGEL                 Songs of Universal, Inc.               PA0001376464
500 YOUR SONG                           Polygram Publishing, Inc.              EFO000142515; RE0000759790;
                                                                               EU0000183663; RE0000779459




     Case 3:23-cv-01092        Document 1-3      Filed 10/18/23         Page 14 of 14 PageID #: 83
